         Case 1:21-cr-00145-BLW Document 43 Filed 05/11/22 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                         Case No. 1:21-cr-00145-BLW
          Plaintiff,
                                         ORDER GRANTING
  vs.                                    DEFENDANT’S MOTION TO
                                         CONTINUE SENTENCING
  ERIK KONRAD EHRLIN,                    HEARING
         Defendant.



        Pending before the court is Defendant’s Unopposed Motion to Continue

Sentencing (Dkt. 42). The sentencing is currently scheduled for May 31, 2022

before Judge Wilson. The Government has no objection to a continuance. Good

cause appears to grant the motion. Therefore, it is HEREBY ORDERED that the

hearing scheduled for May 31, 2022 is VACATED and reset to August 1, 2022 at

2:00 p.m. before United States District Judge Scott Skavdahl, in Courtroom 2.

        IT IS FURTHER ORDERED that this matter is referred to U.S. District

Court Scott Skavdahl for the purpose of conducting the sentencing hearing.

                                            DATED: May 11, 2022


                                            _________________________
                                            B. Lynn Winmill
                                            United States District Judge




            ORDER GRANTING CONTINUANCE OF SENTENCING HEARING
